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Appendix A: Inconsistent and Incorrect Provisions of the Noteholder Plan

In addition to the confirmation infirmities set forth above, the Noteholder Plan contains

numerous simple technical defects and inappropriate provisions the Debtors believe must be

addressed, The Debtors have raised these issues with the Noteholders but have received no

commitment that they will be corrected. The Debtors raise these issues here to the extent they

are not corrected by amendment of the Noteholder Plan. These provisions, which either

inappropriately require the Reorganized Debtors to shoulder certain costs and expenses, impair

the Reorganized Debtors’ ability to manage their businesses or are ambiguous or inconsistent

with the other terms of the Noteholder Plan, include the following:

Section 3.2.6 of the Noteholder Plan improperly provides for the full allowance of the
Senior Noteholder Claims without providing any mechanism for reduction to reflect the
potential outcome of the causes of action asserted in the Committee’s Complaint against
Morgan Stanley Capital Services Inc. (“MSCS”), an affiliate of Morgan Stanley & Co.,
Inc. (“Morgan Stanley”). The Committee’s Complaint seeks to recover damages from
Morgan Stanley and MSCS in an amount to be determined at trial. MSCS has filed a
proof of claim in the principal amount of $38,365,000 which, among other claims also
asserts a protective claim therein of not less than $41,074,528. In light of the fact that the
pending causes of action asserted against MSCS in the Committee’s Complaint may
result in the disallowance of the Senior Noteholder Claims held by MSCS, the
Noteholder Plan must be amended to incorporate a mechanism for reducing the total
allowed amount of the Senior Noteholder Claims by an amount equal to the Senior
Noteholder Claims held by MSCS and its affiliates, including Morgan Stanley.

Section 8.1 of the Noteholder Plan improperly provides the Litigation Trustee with the
power and authority to settle virtually all Disputed Claims, While this provision purports
to enable the Litigation Trustee to settle or compromise, for example, disputed trade
claims, the Noteholder Plan provides no mechanism for transferring all of the defenses
necessary to liquidate such Claims to the Litigation Trust. Indeed, the “Litigation Trust
Causes of Action” that will be transferred to the Litigation Trust do not refer to or include
disputed trade claims. This omission is particularly problematic in light of the fact that
the Noteholder Plan prohibits the Reorganized Debtors from settling or compromising
such claims, and, further, does not provide any reserve that could be utilized by the
Reorganized Debtors in connection with doing so. Instead, pursuant to section 7.2.1 of
the Noteholder Plan, such Disputed Claims Reserves will be held by the Distribution
Trust. The Debtors believe they are the appropriate party to resolve disputed trade
claims. Nevertheless, if the Noteholders would rather convey this right to the Litigation
Trustee, the Noteholder Plan must not only be revised to implement the appropriate

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procedures for transferring the relevant facts and information from the Debtors to the
Litigation Trustee, but must also be modified to require reimbursement of all reasonable
costs and expenses incurred by the Debtors in connection with doing so.

Section 5.11 of the Noteholder Plan provides that, ‘“‘[a]t the discretion of the board of
directors of Reorganized Tribune, after the Effective Date, the Reorganized Debtors may
adopt an Equity Incentive Plan for the purpose of granting awards over time to directors,
officers and employees of Reorganized Tribune and the other Reorganized Debtors.”
This section and Section 6.5 of the Noteholder Plan, however, restrict the board of
directors of Tribune Company from distributing any equity grants or bonus awards, even
if earned or otherwise warranted in the board’s judgment, to directors, officers or
employees that are named as defendants in the Committee’s Complaint. See Noteholder
Plan §§ 5.11, 6.5. Instead, any such distributions must be placed in trust pending the
resolution of the causes of action against such directors, officers or employees, Jd. These
provisions inappropriately infringe on the Reorganized Debtors’ discretion and ability to
grant equity and bonus awards to their directors, officers and employees for their post-
Effective Date services in the manner they determine to be in the best interests of the
Reorganized Debtors’ business operations and, as such, should be deleted.

Section 1.1.217 of the Noteholder Plan provides that Postpetition Interest will be paid at
either the reasonable contract rate or the federal judgment rate as of the Petition Date,
According to the Noteholder Plan, the Holders of Other Non-Guarantor Debtor Claims
will receive Post Petition Interest, and the Holders of Senior Notes Claims, PHONES
Notes Claims, Other Parent Claims, and Other Guarantor Debtor Claims may receive
Postpetition Interest. See Noteholder Plan §§ 1.175, 1.1.218 and 3.3.3. The Debtors
believe that the Noteholders intend to apply the reasonable contract rate of interest if the
applicable contract specifies an interest rate, and the federal judgment rate if there is no
contract or contractual provision specifying the interest rate. The Noteholder Plan should
be amended to clarify this approach, which will assist the Debtors and other parties in
interest in better calculating and estimating the potential Postpetition Interest Claims,

Section 5.3.2 of the Noteholder Plan provides that the board of directors shall have seven
members, two of which shall initially be designated by Aurelius. Requiring a fixed
number of directors inappropriately divests the Company of needed flexibility. For
example, the Reorganized Debtors might need to offer board representation to a
significant new investor in the Company if there were to be a primary equity offering or
for diversity or other social responsibility reasons. The Noteholder Plan must be
amended to enable the Reorganized Debtors to increase the number of board seats if
necessary. Moreover, the Noteholder Plan must be revised to reduce the disproportionate
share of board seats that will be held by Aurelius if resolution of the Litigation Causes of
Action results in no additional recovery to the Senior Noteho!ders or in the event the
Senior Noteholders receive a substantial portion of the distributions to which they are
entitled under the Noteholder Plan.

Sections 5.17.15 and 5.18.17 of the Noteholder Plan require the Reorganized Debtors to
pay costs associated with preserving records and documents related to the Litigation

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Trust Causes of Action and the State Law Avoidance Claims. These provisions are
inconsistent with Sections 5.17.2 and 5.18.2 of the Noteholder Plan, which require the
Debtors to transfer and assign to the applicable Trust all rights with respect to the
Debtors’ assets and information related to the Litigation Trust Causes of Action and the
right to pursue any Abandoned Claims. In light of these required transfers, the
Noteholder Plan must be amended to require each Trust to pay the costs associated with
preserving the necessary records and documents associated with the causes of action to
be pursued by the applicable Trust.

Section 5.6.1 of the Noteholder Plan provides that all Reorganized Subsidiary Debtors
and U.S. Subsidiary Non-Debtors shall serve as guarantors of the New Senior Secured
Term Loan, if issued. However, the Terms of Exit Facility set forth in Exhibit 5.10 to the
Noteholder Plan provides, infer alia, that the Company and the Noteholders may agree to
exclude certain entities from serving as guarantors for the New Senior Secured Term
Loan. Section 5.6.1 of the Noteholder Plan must be revised to reflect that the Company
and Noteholder Proponents may agree to exclude any Reorganized Subsidiary Debtors
and/or U.S. Subsidiary Non-Debtors from guaranteeing the New Senior Secured Term
Loan as more appropriately set forth in Exhibit 5.10 to the Noteholder Plan.
